98 F.3d 1335
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roger MARTIN, Jr., Plaintiff-Appellant,v.Edward MURRAY;  19 John Doe Defendants, Defendants-Appellees.
    No. 96-6854.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 3, 1996.Decided Oct. 15, 1996.
    
      Roger Martin, Jr., Appellant Pro Se.
      Before ERVIN, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. § 1983 (1994) complaint.  The district court assessed a filing fee in accordance with Local Rule 28(C) for the Eastern District of Virginia, and dismissed the case without prejudice when Appellant failed to comply with the fee order.  Finding no abuse of discretion, we affirm.*   Martin v. Murray, No. CA-95-1082-2 (E.D.Va. Apr. 29, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We also deny Appellant's motions for an extension of time, a temporary restraining order, a preliminary injunction, and appointment of counsel
      
    
    